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                                                                                              FILED
                                                                                              CLERK
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                      11:24 am, Sep 22, 2017
 ------------------------------------------------------------------X                   U.S. DISTRICT COURT
 N’DAYA LEE, individually and as the Administratrix                               EASTERN DISTRICT OF NEW YORK
 of the Estate of Diane Parker-Reed,                                                   LONG ISLAND OFFICE

                           Plaintiff,
                                                                        PARTIAL JUDGMENT
         - against -                                                    CV 14-2853 (ADS)(GRB)

 INCORPORATED VILLAGE OF HEMPSTEAD,
 et al.,,

                            Defendants.
 ------------------------------------------------------------------X

         An Acceptance of Offer of Judgment pursuant to Rule 68(a) of the Federal Rules of Civil

 Procedure having been filed by Plaintiff N’Daya Lee on July 7, 2017, accepting the offer of

 Defendant Village of Hempstead to have judgment entered against it in this action for the total

 sum of One Million and One Dollars ($1,000,001.00), plus reasonable attorneys’ fees, expenses

 and costs to the date of the offer for Plaintiff’s federal claims; and an Order of Honorable Arthur

 D. Spatt, United States District Judge, having been filed on September 20, 2017, directing the

 Clerk of the Court to enter judgment in favor of Plaintiff pursuant to the accepted offer of

 judgment, it is

         ORDERED AND ADJUDGED that judgment is entered in favor of Plaintiff N’Daya Lee

 and against Defendant Village of Hempstead in the in the sum of One Million and One Dollars

 ($1,000,001.00), plus reasonable attorneys’ fees, expenses and costs to the date of the offer for

 Plaintiff’s federal claims.



 Dated: Central Islip, New York
        September 22, 2017

                                                                       DOUGLAS C. PALMER
                                                                       CLERK OF THE COURT

                                                             By:       /s/ James J. Toritto
                                                                       Deputy Clerk
